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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11   N. CHARLES PICKETT,           )         NO. CV 18-8755-GW(E)
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )         ORDER ACCEPTING FINDINGS,
                                   )
14   E. HAWKINS, ET AL.,           )         CONCLUSIONS AND RECOMMENDATIONS
                                   )
15             Defendants.         )         OF UNITED STATES MAGISTRATE JUDGE
     ______________________________)
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18        Pursuant to 28 U.S.C. section 636, the Court has reviewed the
19   Third Amended Complaint, all of the records herein and the attached
20   Report and Recommendation of United States Magistrate Judge.            Further,
21   the Court has engaged in a de novo review of those portions of the
22   Report and Recommendation to which any objections have been made.              The
23   Court accepts and adopts the Magistrate Judge’s Report and
24   Recommendation.
25

26        IT IS ORDERED that Judgment shall be entered dismissing the Third
27   Amended Complaint and the action without leave to amend and with
28   prejudice.
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 1        IT IS FURTHER ORDERED that the Clerk serve forthwith a copy of

 2   this Order and the Judgment of this date on Plaintiff.

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 4              DATED: January 11, 2021.

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                                                      GEORGE H. WU
 8                                            UNITED STATES DISTRICT JUDGE

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